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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION             No. 2:12-md-02323-AB
INJURY LITIGATION                      MDL No. 2323


Kevin Turner and Shawn Wooden,         Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

         Plaintiffs,

              v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

         Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS



     POST-FAIRNESS HEARING SUPPLEMENTAL BRIEFING OF OBJECTORS
       SEAN MOREY, ALAN FANECA, BEN HAMILTON, ROBERT ROYAL,
                RODERICK CARTWRIGHT, JEFF ROHRER,
                        AND SEAN CONSIDINE
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                                       INTRODUCTION

       The settling parties have fallen woefully short of meeting their burden of demonstrating

that the Settlement is fair, adequate, and reasonable. See In re Cendant Corp. Litig., 264 F.3d

201, 232 (3d Cir. 2001). Most fundamentally, the Settlement is neither fair nor adequate because

it fails to compensate the vast majority of the class for CTE – “the most serious and harmful

disease that results from NFL and concussions”1 – while specifically releasing all claims for

CTE. The failure to credit seasons played in NFL Europe and the imposition of extraordinary

offsets for non-NFL traumatic brain injuries and strokes also render the Settlement unfair.

Independently, the Settlement should not be approved because conflicts within the class

demonstrate a lack of adequate representation in violation of Federal Rule of Civil Procedure

23(a)(4); the process for receiving benefits is overly burdensome and inadequate; and the notice

was deficient. The end result is that absent class members are being deprived of their property

rights – claims carefully researched and aggressively asserted by Class Counsel claiming to be

“the best of the best” – without due process.


1
 Co-Lead Class Counsel Seeger Weiss used to have on its website a tutorial relating to MTBI
and football:
       Frequent brain trauma or multiple football concussions . . . has [been] shown to
       cause serious mental health problems. Thousands of football players, many of
       whom are thought to have suffered more than one hundred mild traumatic
       brain injuries, are dealing with horrible and debilitating symptoms.
       Multiple medical studies have found direct correlation between football concus-
       sions and suffering from symptoms of chronic traumatic encephalopathy, also
       known as CTE. CTE is believed to be the most serious and harmful disease that
       results from NFL and concussions. CTE is a progressive degenerative disease
       that causes damage to the brain tissue and the accumulation of Tau Proteins.
Up-To-Date Information on NFL Concussions, Seeger Weiss LLP, (Sept. 9, 2014),
http://www.seegerweiss.com/football-concussions/#ixzz3CByVHxui (emphasis added) (Objec-
tion 2 n.1 & Ex. 1). Seeger Weiss removed that language after oral argument in the Third Circuit
on September 10, 2014, at which the inadequate representation and failure to compensate CTE,
as well as this language on the website, was raised.
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       The NFL and Class Counsel have repeatedly offered the ability of class members to opt

out as a justification for the Settlement itself.2 But the issue is not whether a settlement includes

the ability to opt out. The issue is whether absent class members were presented with a fair

settlement, compliant with Rule 23 and due process. As the Third Circuit has stated, “the right

of parties to opt out does not relieve the court of its duty to safeguard the interests of the class”

and ensure that the settlement is fair. In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods.

Litig., 55 F.3d 768, 809 (3d Cir. 1995). Class members should not be presented with a false

choice – one between an inadequate settlement and the burdens of litigating complex claims

alone. They are instead entitled to a fair settlement.

       Both Class Counsel and the NFL sloughed off serious concerns raised at the fairness

hearing, in some instances attempting to mock them. Indeed, Class Counsel’s rebuttal argument

regrettably degenerated to attacking the messenger given that he could not attack Objectors’

message.

       To be absolutely clear, Objectors want to see a settlement. However, the law requires

that settlement to be fair, adequate, and reasonable. As structured, this Settlement fails that test.

                                           ARGUMENT

I.     Class Counsel and the NFL Have Not Refuted the Showing that the Settlement Is
       Unfair in Its Failure To Compensate the Vast Majority of Class Members for CTE
       While Extracting a Release for All CTE Claims

       Final approval should be denied where “the settlement treats ‘similarly situated class

members differently’ ” or “the settlement releases ‘claims of parties who received no

compensation in the settlement.’ ” Ehrheart v. Verizon Wireless, 609 F.3d 590, 604 (3d Cir.

2
  See, e.g., Fairness Hearing Tr. 56-57 (NFL counsel stating that class members were “free to opt
out of the settlement”); NFL Br. 73 (Dkt. No. 6422) (“the Settlement . . . provides a choice—the
right to opt out”); Klonoff Decl. ¶ 121 (Dkt. No. 6423-9) (“Finally, as I have noted throughout
this declaration, class members who found the settlement inadequate had a right to opt out.”).

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2010) (quoting Manual for Complex Litigation § 21.61 (4th ed.)). This Settlement does both by

providing up to $4 million for death with CTE before July 7, 2014, but nothing for death with

CTE after that date, and nothing to treat the very serious symptoms – including suicidality – of

CTE in the living.

        By including an award of up to $4 million for death with CTE before July 7, 2014, Class

Counsel and the NFL have acknowledged that CTE is a real disease, linked to playing in the

NFL.    Class Counsel, and the cadre of experienced plaintiffs’ lawyers they lead, argued

vigorously for this when – after this litigation had been pending for more than two years with

hundreds of individual suits filed – they alleged that CTE is an injury suffered by the class that is

caused by playing in the NFL. See Turner v. Nat’l Football League, Civ. A. No. 2:14-cv-29-AB,

Dkt. No. 1 ¶¶ 2, 252, 260, 312, 346, 364 (E.D. Pa. Jan. 6, 2014) (“Class Action Complaint”); see

also id. ¶ 235 (“[T]he evidence that CTE is caused by repeated sublethal brain trauma is

overwhelming.”).3 The backpedaling they have done since being challenged on the Settlement’s

gross deficiency cannot avoid the judicially admitted stance they have previously taken. See

Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 211 n.20 (3d Cir. 2006) (“Judicial admissions

are concessions in pleadings or briefs that bind the party who makes them.”).

        Nor can Class Counsel and the NFL avoid the science. Their use of bought-and-paid-for

experts in an attempt to cobble together an alternative medical and scientific reality is

reminiscent of the tobacco companies claiming that lung cancer was not linked to smoking

cigarettes.4 It ignores the truth.


3
 Co-Lead Class Counsel stated at the fairness hearing that they “have tried numerous bellwether
cases,” negotiated settlements for “many billions of dollars,” and have consulted with numerous
experts in this case. Fairness Hearing Tr. 25, 33.
4
  See, e.g., Wertheimer, The Smoke Gets in Their Eyes: Product Category Liability and
Alternative Feasible Designs in the Third Restatement, 61 Tenn. L. Rev. 1429, 1452-53 (1994)
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       The entire class is entitled to some form of fair compensation for CTE – or CTE should

be dropped from the release.

       A.      Class Counsel and the NFL Have Not – and Cannot – Overcome the Basic
               Medical Science Regarding CTE

               1.      Dr. Stern and Dr. Gandy Have Credibly Established the Need To
                       Compensate CTE

       Objectors submitted declarations from two of the world’s leading experts on CTE – Dr.

Robert Stern, Professor of Neurology, Neurosurgery, and Anatomy & Neurobiology at Boston

University School of Medicine, and Dr. Samuel Gandy, Professor of Alzheimer’s Disease

Research and Professor of Neurology and Psychiatry at Mt. Sinai School of Medicine in New

York City. See Stern Decl. ¶ 1 (Dkt. No. 6201-16); Gandy Decl. ¶ 1 (Dkt. No. 6232-1). Drs.

Stern and Gandy submitted their declarations without compensation because they so strongly

believe that the Settlement is unfair. Each of them, in his initial declaration, clearly explained

why CTE is central to this case and why refusing to compensate the vast majority of the class for

CTE would be unfair.

       Dr. Stern has “published (as first or second author) the largest case series of the clinical

presentation of neuropathologically-confirmed CTE.” Stern Decl. ¶ 24. He is a Fellow of the

American Neuropsychiatric Association and the National Academy of Neuropsychology. Id. ¶ 5.

He sits on the editorial boards of several leading medical and scientific journals and on the grant

review committees of several funding agencies, including the National Institutes of Health. Id.

       As Dr. Stern explained, the “primary clinical features of CTE include impaired cognition,

mood, and behavior.” Stern Decl. ¶ 31. These “behavioral and mood disorders associated with

head impacts in former professional football players are just as important, just as serious, and


(“[T]here is evidence that the cigarette industry as a whole has worked long and hard to conceal
the true extent of the dangers of smoking.”).

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just as amenable to detection and diagnosis, as cognitive disorders.” Id. ¶ 32; see also id. ¶ 33

(“Individuals with impairments in mood and behavior, but without significant cognitive

impairment can still experience devastating changes in their lives.”). Mood and behavioral

changes affect not only the individual with CTE but also the individual’s “family, friends, and

other loved ones.” Id. ¶ 34. CTE can also lead to cognitive disorders. Id. ¶ 41. Although Dr.

Stern acknowledged that there is not currently a test to diagnose CTE in the living with 100%

accuracy, he has stated that “within the next five to ten years there will be highly accurate,

clinically accepted, and FDA-approved methods to diagnose CTE during life.” Id. ¶ 38.

       Dr. Gandy has explained that, “[p]athologically, CTE involves build-up of

phosphorylated tau protein in the brain.” Gandy Decl. ¶ 4. CTE is “the only neurodegenerative

disease that has been linked to a specific acquired cause – repeated head trauma.” Id. Consistent

with Dr. Stern, Dr. Gandy has stated that “[i]ndividuals with neuropathologically confirmed CTE

have significant problems with mood, behavior, and/or movement and not just problems with

cognition.” Id. ¶ 5. In his declaration, Dr. Gandy also explained that, “[b]ecause CTE symptoms

present much earlier than the symptoms of other neurodegenerative diseases, individuals with

CTE face decades of disability, a challenge that others afflicted with neurodegenerative disease

do not face.” Id. ¶ 7. Although some form of dementia “is evident in most individuals with CTE

who survive to age 65,” id. ¶ 8, “[t]he high rates of suicides, accidents, and drug overdoses” in

individuals with CTE “often lead to death before the individual reaches age 65,” id. ¶ 9.

       Class Counsel attacked Dr. Stern and Dr. Gandy at the fairness hearing by distorting their

work. To avoid the misimpression Class Counsel attempted to create, and to clarify matters for

the Court, Dr. Stern and Dr. Gandy have submitted supplemental declarations (again without

receiving any compensation).



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       In his supplemental declaration, Dr. Stern explains that CTE is a unique degenerative

disease described in leading neurology textbooks. Stern Supp. Decl. ¶ 4. He reaffirms that there

will be a test to diagnose CTE in the living long before the Settlement term concludes. Id. ¶ 13.

He also states that CTE research will continue into the future as it continues to receive funding

from various organizations. Id. ¶¶ 11-13.

       In his supplemental declaration, Dr. Gandy states that “neuropathological diagnosis of

CTE is currently available and is widely accepted and recognized in the medical and scientific

community as a valid diagnosis.” Gandy Supp. Decl. ¶ 8. He also notes that “[i]t is only a

matter of time” before there will be “a reliable clinical diagnosis of CTE in the living.” Id. ¶ 9.

Dr. Gandy also explains that “[r]epetitive brain trauma is a necessary condition for developing

CTE; in the absence of repetitive brain trauma, an individual will not develop CTE.” Id. ¶ 12.

“[I]n nearly 200 cases of neuropathologically confirmed CTE,” Dr. Gandy states, “every case has

occurred in an individual who experienced repetitive brain trauma.” Id.

               2.     The Basic Medical Science Set Forth by Dr. Stern and Dr. Gandy Is
                      Widely Accepted by the Medical Community

       The fundamental points Dr. Stern and Dr. Gandy have made about CTE are in no way

extreme or aggressive.      Nine of the most prominent individuals working in the field of

neuroscience have corroborated them through declarations they have submitted in support of

Objectors – all without compensation for their time and effort.

       These experts are:

              Dr. Patrick Hof, Regenstreif Professor of Neuroscience and Vice-Chair in the
               Department of Neuroscience at the Icahn School of Medicine at Mount Sinai in
               New York

              Dr. Jing Zhang, Professor of Pathology at the University of Washington and Chief
               of Neuropathology Services



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        Dr. Martha Shenton, Professor of Psychology and Radiology, Brigham and
         Women’s Hospital and Harvard Medical School

        Dr. Charles Bernick, Associate Director, Cleveland Clinic Lou Ruvo Center for
         Brain Health

        Dr. Michael Weiner, Professor in Radiology and Biomedical Engineering,
         Medicine, Psychiatry, and Neurology at the University of California, San
         Francisco

        Dr. James Stone, Associate Professor of Radiology and Medical Imaging and of
         Neurological Surgery at the University of Virginia; Co-Director of the University
         of Virginia Brain Injury and Sports Concussion Institute

        Dr. Thomas Wisniewski, Professor of Neurology, Pathology, and Psychiatry at
         NYU’s School of Medicine

        Dr. Steven DeKosky, Visiting Professor of Radiology and Neurology at the
         University of Pittsburgh School of Medicine; Immediate Past Dean and Emeritus
         Professor of Neurology at the University of Virginia School of Medicine

        Dr. Wayne Gordon, Jack Nash Professor and Vice Chair of the Department of
         Rehabilitation Medicine at the Icahn School of Medicine at Mount Sinai in New
         York

These world-class experts make the following points in his or her declarations:

1.       CTE is a unique neurodegenerative disease that is known to exist outside of ALS,
         Alzheimer’s disease, or Parkinson’s disease.

2.       Repetitive brain trauma is a necessary condition for developing CTE.

3.       ALS, Alzheimer’s disease, and Parkinson’s disease are found in the general
         population of individuals who have not suffered repetitive brain trauma.
         Suicidality does not present as a symptom of these diseases.

4.       Mood and behavioral impairments such as depression, suicidality, hopelessness,
         impulsivity, explosiveness, rage, and aggression, although present in the general
         population, appear more frequently in individuals suffering from CTE than in the
         general population.

5.       The mood and behavioral impairments associated with CTE can present prior to
         the onset of CTE-related dementia and can be the cause of significant disability
         and distress for the patient.




                                         7
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       6.      A reliable, valid, and clinically accepted diagnosis of CTE in the living, based, in
               part, on objective biomarkers, will likely be possible in the next decade, if not
               sooner, and long before the 65-year term of the proposed Settlement expires.

       7.      Although the Settlement uses the terms “Neurocognitive Impairment Level 1.0,”
               “Neurocognitive Impairment Level 1.5,” and “Neurocognitive Impairment Level
               2.0,” those terms are not used as diagnostic or classification categories in the
               accepted medical and scientific community.

    The declarations are being included as attachments to this supplemental brief.

               3.     The Experts Hired by the NFL and Class Counsel Acknowledge the
                      Experience and Knowledge of Dr. Stern and Dr. Gandy

       Although Class Counsel and the NFL seek to discredit Drs. Stern and Gandy (as well as

Dr. Ann McKee), their own experts disagree. The settling parties’ experts have coauthored

numerous academic papers with all three doctors.5 And they acknowledge the groundbreaking

work that Drs. Stern, Gandy, and McKee are conducting in the field of CTE research. Dr.

Schneider and Dr. Yaffe both agree, for example, that “Dr. Stern’s research, which is conducted

with other doctors at Boston University, including Dr. Ann McKee, constitutes important

research in the field of CTE at this time.” Schneider Decl. ¶ 30 (Dkt. No. 6422-35); Yaffe Decl.


5
  See Carman, et al., “Mind the Gaps”: Advancing Research in Short- and Long-Term
Neuropsychological Outcomes of Youth Sports-Related Concussions, Submitted, Nature Review
Neurology (2014) (co-authors include Christopher Giza and Dr. Gandy); Crary, et al., Primary
Age-Related Tauopathy (PART): A Common Pathology Associated with Human Aging, 128 Acta
Neuropathologica 755 (2014) (co-authors include Julie Schneider and Dr. McKee); Naj, et al.,
Effects of Multiple Genetic Loci on Age at Onset in Late-Onset Alzheimer Disease: A Genome-
Wide Association Study, 71 J.A.M.A. Neurology 1394 (2014) (co-authors include Julie
Schneider, Dr. Stern, and Dr. McKee); Nelson, et al., Correlation of Alzheimer Disease
Neuropathologic Changes with Cognitive Status: A Review of the Literature, 71 J.
Neuropathology & Experimental Neurology 362 (2012) (co-authors include Julie Schneider and
Dr. McKee); Naj, et al., Common Variants at MS4A4/MS4A6E, CD2AP, CD33 and EPHA1 Are
Associated with Late-Onset Alzheimer’s Disease, 43 Nature Genetics 436 (2011) (co-authors
include Julie Schneider, Dr. Stern, and Dr. McKee); Van Deerlin, et al., Common Variants at
7p21 Are Associated With Frontotemporal Lobar Degeneration with TDP-43 Inclusions, 42
Nature Genetics 234 (2010) (co-authors include Julie Schneider and Dr. McKee); Weiner, et al.,
Military Risk Factors for Alzheimer’s Disease, 9 Alzheimer’s & Dementia 445 (2013) (co-
authors include Kristine Yaffe and Dr. McKee).

                                                8
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¶ 69 (Dkt. No. 6422-36) (same quote). Dr. Yaffe further explains that “[s]tudies such as [Ann

McKee, Robert Stern, et al., The Spectrum of Disease in Chronic Traumatic Encephalopathy,

136 Brain 43 (2013) (“McKee et al. 2013”)] should be lauded and praised for pioneering the

science of CTE.” Yaffe Decl. ¶ 71. Citing the McKee study that Objectors rely on, moreover,

Dr. Fischer addresses the four stages of CTE without ever suggesting that those stages are not

legitimate ways of tracking the progression of CTE. Fischer Decl. ¶ 12 (Dkt. No. 6423-17); see

also Hamilton Decl. ¶ 26 (Dkt. No. 6423-25); Nitz Supp. Decl. Ex. 1. And in an article in the

New York Times, “[Dr.] Hovda, whose research into the neurobiology of concussions demon-

strated the vulnerability of the brain to second insults, says McKee’s science is rigorous, sig-

nificant, and does not overinterpret the available data.”6 Rather than criticize the research con-

ducted by Drs. Stern, Gandy, and McKee, the settling parties’ experts embrace and rely upon it.

               4.      The Experts Hired by the NFL and Class Counsel Are Biased

       Dr. Stern and Dr. Gandy – and now the nine other preeminent experts that join in the

fundamental points of their analysis – so strongly believe that the Settlement is a bad deal for

players that they have provided their services to the Court and the class for free. Though Class

Counsel mocked this fact during the fairness hearing, see Fairness Hearing Tr. 196, the

impartiality of expert testimony, and of the scientific studies that inform that testimony, is critical

in a case such as this one. As Class Counsel has expressly alleged, the NFL “propagated its own

industry-funded and falsified research to support its position.” Class Action Complaint ¶ 84.

       Neither the NFL nor Class Counsel, however, have disclosed the amount of

compensation they paid to their experts or their experts’ employers. That omission – in stark


6
  Leavy, The Woman Who Would Save Football, Grantland (Aug. 17, 2012), http://grant
land.com/features/neuropathologist-dr-ann-mckee-accused-killing-football-be-sport-only-hope/
(attached as Nitz Supp. Decl. Ex. 2).

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contrast to Objectors’ unqualified, unambiguous statement that none of their experts received

any compensation whatsoever for their declarations – provides an appropriate baseline for this

Court to view the credibility of the various expert declarations. See Cary Oil Co. v. MG Ref. &

Mktg., Inc., 257 F. Supp. 2d 751, 756 (S.D.N.Y. 2003) (citing cases holding that experts may be

cross-examined on their compensation “in an effort to impeach for bias”).

       Even apart from compensation for their declarations, the settling parties’ experts have

conflicts of interest that, at a minimum, call into question the value of their declarations. For

example, Class Counsel and the NFL never disclosed that the UCLA lab that employs Class

Counsel experts Giza and Hovda received a $10 million donation from Steve Tisch, the co-

owner of the New York Giants.7 Nor have Class Counsel and the NFL disclosed that ImPACT,

the organization its expert Richard Hamilton consults for, has received funding from the NFL.8

ImPACT’s website notes that “[t]he science behind ImPACT was developed in response to

requests for neurocognitive testing from the NFL to help determine safe return to play.” Id.

ImPACT is the “league’s de facto standard testing system.”9 The settling parties likewise failed

to disclose that Dr. Grant Iverson, a Visiting Professor of Physical Medicine and Rehabilitation

at Harvard Medical School, has received funding from ImPACT, although they repeatedly rely

on Iverson in their submissions. See NFL Br. 84 n.35; Millis Decl. ¶¶ 21, 22 (Dkt. No. 6422-34);




7
   Sun, NY Giants’ Steve Tisch Reveals His $10M Plan To Further Concussion Research,
Hollywood Reporter (Sept. 11, 2014), http://www.hollywoodreporter.com/news/ny-giants-steve-
tisch-reveals-731376 (attached as Nitz Supp. Decl. Ex. 3).
8
 ImPACT, https://www.impacttest.com/about/?ImPACT-Founders-6 (attached as Nitz Supp.
Decl. Ex. 4).
9
  Keating, NFL’s Concussions Expert Also Sells Equipment to League, ESPN The Magazine
(Aug. 10, 2007), http://sports.espn.go.com/nfl/news/story?id=2967678 (attached as Nitz Supp.
Decl. Ex. 5).

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Keilp Decl. ¶¶ 30, 33 (Dkt. No. 6423-20).10 These associations demonstrate, at the very least,

that the experts put forth by Class Counsel and the NFL have strong ties to the NFL that call into

question their impartiality.

       At the fairness hearing, Objectors asked that Class Counsel and the NFL be required to

disclose the compensation the settling parties provided their experts. The class and this Court

have a right to know. We reiterate that request.

               5.      The Tortured “Analysis” of the Experts Hired by the NFL and Class
                       Counsel Fails To Refute the Accepted Medical Science Concerning
                       CTE

       Denying causal links is not new to large, vested corporate interests facing potential

liability for causing broad-based injury. Tobacco companies disputed any causal link between

smoking and lung cancer well into the 1980s and denied the addictiveness of nicotine into the

1990s. See, e.g., Falise v. Am. Tobacco Co., 94 F. Supp. 2d 316, 330-32 (E.D.N.Y. 2000). Here

too, the NFL – now supported by Class Counsel with their own financial incentive – argue that

the Settlement’s failure to compensate CTE is the result of limited science linking football to

CTE.11 Those arguments lack merit.

                       a.      Existing CTE Research Demonstrates Causation

       The experts retained by the NFL and Class Counsel urge that the current research into

CTE is flawed because it does not use control groups.12 Fischer Decl. ¶ 11; Giza Decl. ¶ 16


10
   Iverson, Advances and Controversies in Neuropsychological Assessment: 7-Year Funding
Disclosure,     http://www.sgtv.org/download/271113_iverson_advances_controversies_in_np_
assessment.pdf (attached as Nitz Supp. Decl. Ex. 6).
11
  See, e.g., Class Counsel Br. 18; NFL Br. 47, 86; Klonoff Decl. ¶ 18; Yaffe Decl. ¶ 17 (“the
causes of CTE are unknown”); Giza Decl. ¶ 19 (“any assumptions about a causal association
between CTE and mild concussions or subconcussive brain injuries are premature”).
12
   Of course, this is notwithstanding that Co-Lead Class Counsel Seeger Weiss has been
proclaiming throughout this litigation that “[m]ultiple medical studies have found direct
correlation between football concussions and suffering from symptoms of chronic traumatic
                                               11
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(Dkt. No. 6423-18); Hovda Decl. ¶ 22 (Dkt. No. 6423-19); Schneider Decl. ¶ 26; Yaffe Decl.

¶ 66.   Dr. Schneider, the NFL’s expert, states that the “handful of studies that have been

conducted relating to CTE are case reports or case series.” Schneider Dec. ¶ 26. Dr. Yaffe, also

the NFL’s expert, states that “the only available studies [on CTE] are case reports.” Yaffe Decl.

¶ 66. Both experts define “case report” and “case series” studies as those that do not have

control groups. See Schneider Decl. ¶ 26 (case series studies “lack . . . a proper control group”);

Yaffe Decl. ¶ 64 (case report and case series studies are those that “look retrospectively at

exposure and outcomes and do not have control groups”). In the 2013 McKee study cited by

Objectors, however, “[e]ighteen age- and gender-matched individuals without a history of

repetitive mild traumatic brain injury served as control subjects.” McKee et al. 2013, supra, at

43 (emphasis added).13 The leading study does use a control group.

        The experts retained by the NFL and Class Counsel also ignore the realities of mass-tort

litigation in criticizing the lack of prospective, “double-blind randomized control trials” in the

encephalopathy, also known as CTE” and that “CTE is believed to be the most serious and
harmful disease that results from NFL and concussions.” See p. 1 n.1, supra. Co-Lead Class
Counsel Anapol Schwartz has likewise stated that “[s]ymptoms of CTE include dementia,
aggression, depression, memory loss, confusion, impaired judgment and impulse control
problems.” Chronic Traumatic Encephalopathy, NFL Concussion Lawsuits: An Anapol
Schwartz Information Website, http://nfl-concussions-lawsuit.com/nfl-concussion-lawsuit-
news/chronic-traumatic-encephalopathy/ (accessed Dec. 1, 2014) (attached as Nitz Supp. Decl.
Ex. 7) (emphasis added). And Class Counsel The Locks Law Firm has pronounced that, “[f]or
many years, all credible scientific evidence leads to the conclusion that individuals who suffer
repeated and cumulative trauma to the head are at significantly increased risk for permanent
brain injuries.” The Locks Law Firm, NFL Head Trauma Litigation, http://www.lockslaw.com/
html/nfl.html (accessed Nov. 30, 2014) (attached as Nitz Supp. Decl. Ex. 8).
13
   Just a few paragraphs after stating that all studies on CTE are “case reports or case series”
studies without a control group, Dr. Schneider notes that the 2013 McKee study had “[e]ighteen
gender-matched individuals without a history of repetitive mild TBI [who] served as the control
group.” Schneider Decl. ¶ 31. Dr. Schneider criticizes the control group used in the CTE studies
for not including additional permutations such as “non-athletes who experienced head trauma”
and “athletes without TBI” but offers no scientific basis for why the McKee study’s comparison
against age- and gender-matched individuals without a history of head trauma was invalid. Id.
¶ 35.

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area of CTE. Yaffe Decl. ¶ 66. As the Federal Judicial Center’s authoritative guide explains,

“ethical and practical constraints limit the use of” double-blind, randomized trials in studying

exposures thought to be harmful to human beings. Federal Judicial Center, Reference Manual on

Scientific Evidence 555 (3d ed. 2011) (“FJC Man.”). It would be unethical, to say the least, to

choose a sample of people and subject them at random to concussions and sub-concussive

impacts to determine the effect of such impacts on their brains.        Epidemiological studies,

including retrospective ones like the studies addressing CTE, are the “primary generally accepted

methodology for demonstrating a causal relation” in mass-tort cases. FJC Man. 551 n.2.

       The experts retained by the NFL and Class Counsel also ignore the fact that causation in

tort requires only “but for” and proximate causation. See Robertson v. Allied Signal, Inc., 914

F.2d 360, 366-67 (3d Cir. 1990). The science shows that brain trauma is a but-for cause of CTE.

CTE only presents in people with a history of repeated brain trauma – unlike ALS, Alzheimer’s

disease, or Parkinson’s disease, which present in the general population of individuals who have

not suffered repetitive brain trauma. See pp. 6-8, supra. Moreover, the NFL’s conduct was

plainly a proximate cause of class members’ harm. “Proximate cause requires only ‘some direct

relation between the injury asserted and the injurious conduct alleged,’ and excludes only those

‘link[s] that are too remote, purely contingent, or indirect.’” Staub v. Proctor Hosp., 131 S. Ct.

1186, 1192 (2011). Unless the NFL’s conduct was a “trivial contribution” to the class members’

“cause of harm,” the NFL’s conduct is a proximate cause of the class members’ injuries.

Restatement (Third) of Torts: Phys. & Emot. Harm § 36 (2010).

       This Court – as well as the class for whom Class Counsel acts as a fiduciary – should take

the highly experienced and esteemed group of plaintiffs’ lawyers serving as Class Counsel at

their word when they alleged that “the NFL publicly inserted itself into the business of head



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injury research” and “propagated its own industry-funded and falsified research to support its

position, despite its historic role as the guardian of player safety, and despite the fact that

independent medical scientists had already come to the opposite conclusion.” Class Action

Complaint ¶ 84; see also id. ¶ 284. Even without the benefit of discovery, it is obvious that the

NFL’s deception regarding the effects of head injuries resulting from playing in the NFL

contributed to the harm that thousands of players have suffered.

                      b.      CTE Presents with Severe and Debilitating Mood and Behavioral
                              Symptoms

       Class Counsel and the NFL minimize the mood and behavioral issues that accompany

CTE. Class Counsel Br. 55; NFL Br. 6. Moreover, their experts dismiss Objectors’ call to

compensate these symptoms as “premature” because they assert that there is no scientific

consensus on the clinical profile of CTE, or whether mood and behavioral symptoms are part of

that clinical profile. Schneider Decl. ¶ 29; Yaffe Decl. ¶¶ 67, 75; Fischer Decl. ¶ 11; Hamilton

Decl. ¶ 29. Most of these experts argue that mood and behavioral issues are widespread in the

general population, and therefore it is difficult to form conclusions about whether they are

caused by CTE. Dr. Schneider’s analysis is typical: “Even assuming that these studies were

later proven true (i.e. that the diagnostic and clinical profile of CTE includes mood and

behavioral symptoms), there is the added concern that many of the reported neurobehavioral

symptoms are quite common in the general population.” Schneider Decl. ¶ 39.

       Such “CTE denier” arguments ignore reality. The relevant question is not whether

symptoms of CTE are also present in the general population – and, notably, all of the Qualifying

Diseases are also present in the general population – but whether they are more prevalent among

those diagnosed with CTE than in the general population. See FJC Man. 602. After all, lung

cancer presents in the general population absent a history of smoking, and emphysema presents


                                               14
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in the general population absent a history of coal dust exposure. That did not preclude tobacco

or black lung litigation from going forward on causation issues.14 As noted above, there is

widespread agreement that individuals with CTE suffer from debilitating mood and behavioral

symptoms at a far higher rate than the general population – a fact that Co-Lead Class Counsel

has already acknowledged. See p. 1 n.1 & pp. 7-8, supra. Significantly, suicidality is a recog-

nized symptom of CTE at its earliest stages. See McKee et al. 2013, supra, at 56 tbl. 4. Sadly,

those symptoms have been expressed in the most extreme sense in the deaths of at least seven

former players who have taken their lives.15




14
   Other experts likewise noted that symptoms like depression have many risk factors. Dr.
Yaffe’s analysis is typical: “Put simply, because mood and behavioral symptoms, such as
depression, have many risk factors, these symptoms could be completely unrelated to CTE.”
Yaffe Decl. ¶ 75. But legal causation does not require establishing sole causation, only “sub-
stantial factor” causation. See Restatement (Third) of Torts: Phys. & Emot. Harm § 36 (2010).
15
   See Delsohn, OTL: Belcher’s Brain Had CTE Signs, ESPN (Sept. 30, 2014), http://espn.go
.com/espn/otl/story/_/id/11612386/jovan-belcher-brain-showed-signs-cte-doctor-says-report (at-
tached as Nitz Supp. Decl. Ex. 9); Smith, Ex-Falcons Lineman Had Brain Disease Linked to
Concussions, CNN Health (Apr. 1, 2011), http://www.cnn.com/2011/HEALTH/04/01/
brain.concussion.dronett/index.html?hpt=Sbin (attached as Nitz Supp. Decl. Ex. 10); McDonald,
Study Finds a Strong Correlation Between Repeated Head Trauma and Domestic Abuse, The
Washington Post (Oct. 22, 2014), http://www.washingtonpost.com/news/morning-mix/wp/2014/
10/22/study-finds-a-strong-correlation-between-repeated-head-trauma-and-domestic-abuse/ (at-
tached as Nitz Supp. Decl. Ex. 11); Smith, Lives After Junior, ESPN (May 2, 2013)
http://espn.go.com/nfl/story/_/id/9410051/a-year-later-one-junior-seau-close-friends-comes-for
ward-recount-version-descent (attached as Nitz Supp. Decl. Ex. 12); Associated Press, Ex-Steeler
Long Drank Antifreeze To Commit Suicide, ESPN (Jan. 26, 2006), http://sports.espn.go.
com/nfl/news/story?id=2307003 (attached as Nitz Supp. Decl. Ex. 13); Solotaroff, Dave
Duerson: The Ferocious Life and Tragic Death of a Super Bowl Star, Men’s Journal (May
2011), http://www.mensjournal.com/magazine/dave-duerson-the-ferocious-life-and-tragic-death-
of-a-super-bowl-star-20121002; Schwarz, Expert Ties Ex-Player’s Suicide to Brain Damage,
N.Y. Times (Jan. 18, 2007), http://www.nytimes.com/2007/01/18/sports/football/18waters.html
?pagewanted=all.

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               6.     The Opinions Expressed in the Declarations of the Experts Hired by
                      the NFL and Class Counsel – Which They Offer To Support the
                      Settlement – Are Inconsistent Internally and With the Opinions They
                      Have Expressed Before They Were Retained by the NFL and Class
                      Counsel

       The experts retained by the NFL and Class Counsel make statements in their declarations

that are either internally inconsistent or inconsistent with their other work. For example, Dr.

Yaffe, the NFL’s expert, states that:     “It is my belief – and no scientific study says or

demonstrates otherwise – that based on the current state of the science, the association between

mild repetitive TBI and the qualifying diagnoses is not clear.” Yaffe Decl. ¶ 39. She also asserts

that “it is not yet possible to state with any certainty whether CTE causes any mood or

behavioral symptoms.” Id. ¶ 75. However, a 2011 study she co-authored states:

       The association of TBI with dementia has also been documented in many studies
       involving nonveteran populations . . . Dementia pugilistica was first recognized in
       professional boxers in 1928. This condition, now referred to as chronic
       traumatic encephalopathy (CTE), has now been identified not only in boxers, but
       also in American football . . . . CTE is thought to result from repeated multiple
       head injuries or sub-clinical impact to the head. CTE manifests initially with
       emotional and behavioral symptoms . . . . 16

Thus, in an earlier paper Dr. Yaffe endorsed essentially all of the widely accepted medical

science that underlies Objectors’ arguments.

       For his part, Dr. Hovda expresses skepticism about the causal link between repeated

concussions and CTE pathology. But a 2012 New York Times article states: “Dr. Hovda said

that the growing body of research linking C.T.E. to multiple head injuries was ‘quite

remarkable.’ ”17 Similarly, though he now questions the link between CTE and mood and


16
  Weiner, et al., Military Risk Factors for Alzheimer’s Disease, 9 Alzheimer’s & Dementia 445,
446 (2013) (emphasis added) (attached as Nitz Supp. Decl. Ex. 14).
17
   Dao, Brain Ailments in Veterans Likened to Those in Athletes, N.Y. Times (May 16, 2012),
http://www.nytimes.com/2012/05/17/us/brain-disease-is-found-in-veterans-exposed-to-
bombs.html?pagewanted=all&_r=0 (attached as Nitz Supp. Decl. Ex. 15).

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behavioral issues, Hovda Decl. ¶ 21, in an article earlier this year he is quoted as saying: “Kind

of like when you’re intoxicated, where you take away inhibition and then all of a sudden if you

have an underlying violent or aggressive personality it’s more likely to surface . . . I’ve always

said that concussions, or mild traumatic brain injuries, don’t just happen to one person, they

happen to the entire family.”18 These statements are inconsistent with Dr. Hovda’s declaration

challenging Objectors.

               7.      The Science Surrounding CTE Should Not Be Frozen by the
                       Settlement

       Even if the science surrounding CTE is continuing to evolve – and, as we show above,

there is widespread agreement regarding fundamental points Dr. Stern and Dr. Gandy made in

their initial declarations – that would provide a reason to reject the Settlement, not approve it. In

case after case, the Supreme Court has made clear that settlement provisions must keep pace with

changing science and medicine. See Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 610-11

(1997) (settlement should not be approved if it “freez[es] in place the science” known at the time

of settlement) (quoting Georgine v. Amchem Prods., Inc., 83 F.3d 610, 630-31 (3d Cir. 1996));

see also 1 McLaughlin on Class Actions § 4:30 (11th ed.) (describing this point). If a class is

“divided between holders of present and future claims,” then the class must be subdivided “with

separate representation to eliminate conflicting interests of counsel.” Ortiz v. Fibreboard Corp.,

527 U.S. 815, 856 (1999). Otherwise, there is an irreconcilable conflict between the “ ‘currently

injured’ ” who seek “ ‘generous immediate payments’ ” and those whose injuries have not yet

been diagnosed. Id. (quoting Amchem, 521 U.S. at 626).



18
   Carroll, Could Brain Injuries Be Behind the NFL Rap Sheet?, NBC News (Sept. 17, 2014),
http://www.nbcnews.com/storyline/nfl-controversy/could-brain-injuries-be-behind-nfl-rap-sheet-
n205666 (attached as Nitz Supp. Decl. Ex. 16).

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       The NFL and Class Counsel ask this Court to ignore the Supreme Court’s decisions in

Amchem and Ortiz. The class representatives do not allege that they have or are at risk of

developing CTE. Class Action Complaint ¶¶ 4, 7; see Georgine, 83 F.3d at 630-31 (describing

the inherent conflict between present claimants, who must accept the science as it is today, and

future claimants, who could count on more advanced science if they brought claims in the

future). The Settlement bargains away the rights of class members with current and future cases

of CTE. As knowledge about CTE grows, diagnoses will be more readily available. The NFL

and Class Counsel nonetheless seek to freeze the science in place (when they do not ignore it

altogether) in violation of Amchem and Ortiz.19

       B.      Compensating “Dementia” Does Not Equal Compensating CTE

       Class Counsel and the NFL are unequivocal that the Settlement does not compensate

CTE other than for those who died before July 7, 2014. See Seeger Decl. ¶ 9 (Dkt. No. 6423-3);

NFL Br. 77-78. Yet, they claim CTE is “sort of compensated” through the Settlement’s compen-

sation of “Level 1.5 Neurocognitive Impairment” or “Level 2 Neurocognitive Impairment.” See,

e.g., NFL Br. 78. That convoluted argument fails.

       First, there is no such thing as “Level 1.5 Neurocognitive Impairment” or “Level 2

Neurocognitive Impairment” except in the fantasy world of this Settlement.20 The settling

parties, for example, cite no peer-reviewed article establishing these “Levels” as commonly

accepted methods to diagnose stages of dementia. That is because these “Levels” were created

19
   Indeed, the Settlement anticipates advances in science, only to disallow recovery.            See
Settlement § 6.6(c) (disallowing any compensation for newly diagnosable diseases).
20
   It is troubling that Class Counsel would agree to a bogus “diagnosis” like this. One of the
allegations of the complaint is that the NFL sponsored junk science to deceive players into
believing that concussions do not present the serious health risks that they, in fact, present. Class
Action Complaint ¶ 84. Class members are entitled to have their fiduciaries, Class Counsel,
insist that the Settlement use recognized and accepted medical standards in establishing
qualifying diagnoses and care.

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for this Settlement. The renowned experts who have submitted declarations supporting the

Objectors and address the “Levels” thus confirm that, although the Settlement uses the terms

“Neurocognitive Impairment Level 1.0,” “Neurocognitive Impairment Level 1.5,” and

“Neurocognitive Impairment Level 2.0,” those terms are not used as diagnostic or classification

categories in the accepted medical and scientific community. See p. 8, supra.

       Second, even if one were to accept the bogus dementia “diagnosis” used in the

Settlement, a class member with CTE would never be able to receive the same maximum

compensation through a dementia diagnosis as could be received through a diagnosis of death

with CTE before July 7, 2014. And many suffering some of the most serious symptoms of CTE

– such as suicidality – would never be compensated through a dementia diagnosis:




As this chart shows, an individual who dies from CTE before July 7, 2014 can receive a

maximum award of $4 million for Stage 1, Stage 2, Stage 3, or Stage 4 CTE. An individual

suffering from Stage 1 or Stage 2 CTE who dies after July 7, 2014 receives nothing. And an

individual suffering from Stage 3 or Stage 4 CTE who dies after July 7, 2014 must navigate

through the complicated claims process and establish that he suffers from “Level 1.5




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Neurocognitive Impairment” or “Level 2 Neurocognitive Impairment” before recovering up to

$1.5 million or $3 million, respectively.21

II.    The Failure To Credit NFL Europe Play and the Application of the 75% Non-NFL
       Traumatic Brain Injury Offsets Render the Settlement Unfair

       The failure to credit play in NFL Europe, while requiring a release from those who

played in NFL Europe, separately renders the Settlement unfair. As demonstrated by Objectors

at the fairness hearing, the contention that excluding credit was justified because NFL Europe

had a shorter season and was really a “developmental league” holds no water.22 Fairness

Hearing Tr. 90-92. The NFL Europe players have suffered at the hands of the NFL in the same

way as those who played in the United States. In fact, many players played in both leagues. See


21
   Individuals with CTE are similarly not assured a recovery just because, in some instances, they
might also have Alzheimer’s Disease, Parkinson’s Disease, or ALS. There is a significant lack
of comorbidity with those qualifying diagnoses. The NFL’s experts admit as much. Citing Dr.
McKee’s 2013 study, Drs. Yaffe and Schneider assert that at least 89% of the football players in
McKee’s study would qualify for a payment under one of the Settlement’s non-CTE Qualifying
Diagnoses. Yaffe Decl. ¶ 83; Schneider Decl. ¶¶ 51-52. Even assuming the accuracy of Dr.
Yaffe’s and Dr. Schneider’s analyses, more than 1 out of every 10 class members suffering from
CTE would not receive payment under the Settlement. The settling parties offer no justification
for that omission. Nor do they explain why an individual who has been suffering from CTE for
years or even decades should be subject to the offsets built into the Settlement based on the
individual’s age at the time of Qualifying Diagnosis. See Settlement Ex. B-3; Gandy Decl. ¶ 7.
In any event, Drs. Yaffe and Schneider misinterpret Dr. McKee’s study. Of the 68 cases of CTE
in Dr. McKee’s 2013 study, only 37% had a comorbid diagnosis. McKee et al. 2013, supra, at
61. And of those exhibiting a comorbid disease, 76% (19 of 25) had Stage 3 or Stage 4 CTE. Id.
at 49-51 tbl. 2. Similarly, dementia was found exclusively in those with Stage 3 or Stage 4 CTE.
Id. at 56 tbl. 4. Thus, compensating comorbidities leaves individuals suffering from Stage 1 and
Stage 2 CTE – and the devastating behavioral and mood impairments so common in those stages,
see, e.g., Stern Decl. ¶¶ 32-35 – without compensation. That result is all the more unjust given
that Stage 1 and Stage 2 CTE in individuals who died before July 7, 2014 will receive a
maximum $4 million payout.
22
  Class Counsel, in one of his many media appearances attempting to sell the Settlement, offered
a different, albeit bizarre, justification. He urged that “NFL Europe, um, is part of the deal, but,
you know, nobody, I think, is going to argue that they’re playing at the level that the NFL in the
United States is playing at or that they’re getting hit like they are there.” Audio file: Interview of
Chris Seeger, CBS Sports Radio, The Mojo Show, at 9:09-9:45 (aired July 10, 2014). Neither
Class Counsel nor the NFL has yet had the temerity to offer this justification to the Court.

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Heimburger Decl. ¶¶ 11-12 (Dkt. No. 6230-1) (describing time spent playing in both Leagues, as

well as the head trauma and symptoms sustained in each); Morey Decl. ¶ 7 (Dkt. No. 6201-17).

Tellingly, neither the NFL nor Class Counsel even attempted to support this discriminatory

treatment of NFL Europe players – or explained how Class Counsel’s own expert was wrong

when he said in his sworn declaration that this unfair treatment of NFL Europe players should be

fixed. See Klonoff Decl. ¶ 16 (“[T]he parties should consider modifications to the settlement

agreement to address the NFL Europe issue.”); id. ¶ 93 (similar).

       Similarly, the application of 75% award reductions in the case of a single instance of non-

NFL traumatic brain injury or stroke creates an indefensible unfairness. While some reduction

might be inappropriate, Class Counsel and the NFL have offered no evidence to support such a

drastic reduction. The draconian offset for a single instance of non-NFL traumatic brain injury

or stroke simply makes no sense when Class Counsel themselves agree that some players

“suffered more than one hundred mild traumatic brain injuries” during their careers. See p. 1

n.1, supra (emphasis added).

III.   The Class Conflicts Caused by the Settlement’s Treatment of CTE, NFL Europe
       Play, and Non-NFL Traumatic Brain Injuries and Strokes Demonstrate a Lack of
       Adequate Representation in Violation of Federal Rule of Civil Procedure 23(a)(4)

       Both Class Counsel and the NFL refused to address at the fairness hearing the fact that

neither class representative alleged that: he has or is at risk of having CTE; he played in the NFL

Europe; or he is subject to the 75% offsets. See Class Action Complaint ¶¶ 4, 7. As structured,

the Settlement creates conflicts within the class.

       The Third Circuit addresses intraclass conflicts through the framework of Rule 23(a)(4)’s

adequacy requirement. See Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 183-84 (3d

Cir. 2012).   The “linchpin of the adequacy requirement is the alignment of interests and

incentives between the representative plaintiffs and the rest of the class.” Id. at 183. Apart from
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the basic unfairness created by these conflicts, the conflicts demonstrate a lack of adequate

representation that precludes class certification under Rule 23(a)(4). The rights of class members

were bargained away. Thus, approval should be denied on this separate ground.

IV.    Procedural Hurdles Will Prevent Many Class Members from Ever Recovering

       The confusing and burdensome process the Settlement imposes on class members will

limit the number of meritorious claims the NFL actually has to pay. A class member does not

have an automatic right to receive benefits from the Settlement. A class member must instead

opt in to the Settlement by registering with the Claims Administrator within six months or be

forever barred from compensation. See Settlement § 4.2. The Baseline Assessment Program,

moreover, is capped at $75 million. See id. § 23.3(d). If it runs out, a class member will be

unable to participate. And even if it does not run out, Class Counsel and the NFL decided that

the Baseline Assessment Program should terminate decades before the 65-year term of the

Settlement ends. See id. § 5.5. The Baseline Assessment Program also does not address mood

and behavioral symptoms.

       The Settlement, moreover, requires a “MAF physician” approved by the NFL to provide

a Qualifying Diagnosis.     See Settlement § 6.5(a).23    The testing protocol MAF Physicians

administer is burdensome and impractical. See Objection 72-73. As several declarations make

clear, the Settlement’s diagnostic or classification categories of “Neurocognitive Impairment

23
   A “MAF Physician” is a “board-certified neurologist, board-certified neurosurgeon, or other
board-certified neuro-specialist physician” approved by the NFL who is the only type of doctor
“authorized to make Qualifying Diagnoses.” Settlement § 2.1(www). There is no assurance in
the Settlement that a MAF Physician will be within 50, 100, or even 500 miles of a class
member, even though a class member cannot recover unless a MAF Physician provides a
Qualifying Diagnosis. That will punish class members living in areas where there are shortages
of neurologists – a shortfall that affects most of the country. See Dall, et al., Supply and Demand
Analysis of the Current and Future US Neurology Workforce, 81 Neurology 470, 470-71 (2013)
(noting that there is already an “11% shortfall” in neurologists, which is expected to grow to a
“19% shortfall” by 2025) (attached as Nitz Supp. Decl. Ex. 17).

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Level 1.0,” “Neurocognitive Impairment Level 1.5,” and “Neurocognitive Impairment Level

2.0” are unknown in the medical and scientific community. See p. 8, supra. The testing protocol

has not been validated for the purposes outlined in the settlement in the general, athlete, or

football populations. Stern Supp. Decl. ¶ 15.

        As Dr. Stern explains, the current testing protocol was designed by individuals who do

not specialize in dementia or neurodegenerative disease. Stern Supp. Decl. ¶ 17. The protocol

“is not appropriate for evaluating whether retired professional football players have

neurodegenerative diseases such as CTE or Alzheimer’s disease.” Stern Decl. ¶ 43. Among

other problems, the protocol imposes a burdensome, five-hour test that will result in many class

members not finishing the test. Id. ¶¶ 43-44. If this protocol is approved, it will “unfairly

deprive at least some otherwise eligible persons with measurable cognitive deficits of

compensation.” Id. ¶ 46.

        Even if a player receives a Qualifying Diagnosis, he still faces many hurdles before

recovering under the Settlement. He must submit a Claim Package within two years of receiving

a diagnosis.   See Settlement § 8.3(a)(i). And even though the NFL already has the information,

a player who qualifies for an award will receive at least an 80% offset unless he can provide

sufficient evidence that he played in the NFL. Id. § 6.7(b)(i)(8); see id. § 8.2(a)(v).

        Finally, the appellate process is biased against the class. A class member must pay

$1,000 for an appeal to this Court but the NFL does not pay anything. See Settlement § 9.6(a)-

(b).   If a Claims Administrator denies an award, a class member must present clear and

convincing evidence of error, and must do so in five pages with no reply. Id. § 9.7. As this

procedural morass demonstrates, the settling parties have designed a process that will impede

rather than assist class members who merit an award under the Settlement.



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V.     Class Notice Has Caused Confusion Among the Class

       The class notice was false and misleading. The notice states that all cases of CTE will

receive compensation: Paragraph 14 of the long-form notice, for example, defines “Qualifying

Diagnoses” to broadly include “Death with CTE” and then notes that “A Qualifying Diagnosis

may occur at any time until the end of the 65-year term of the Monetary Award Fund.” See

Objection 41.    That is not true.    Nor have the settling parties ever sought to defend that

statement. Instead, the settling parties state that a different part of the notice clarifies that the

Settlement provides recovery for “Death with CTE prior to July 7, 2014.” NFL Br. 156 (quoting

Long-Form Notice at 6); see also Class Counsel Br. 40. As Objectors previously explained,

however, a notice that contains both false and technically true statements is defective as a matter

of law. Objection 45-48; see also Eubank v. Pella Corp., 753 F.3d 718, 728 (7th Cir. 2014)

(vacating approval of settlement, in part because notice was “incomplete and misleading” and

did not “provide a truthful basis for deciding whether to opt out.”); Pearson v. NBTY, Inc., No.

12-1245, 2014 WL 6466128, at *5 (7th Cir. Nov. 19, 2014) (Posner, J.) (noting deficient notice).

       The false and misleading notice, moreover, was not without effect. Class member Judson

Flint, for example, explained in his August 21, 2014 objection that:

       I’m writing to suggest that CTE be addressed in living players because there is
       technology being developed that will diagnose that condition if not now
       somewhere in the near future. The settlement only addresses CTE when a player
       dies and I think the court should have a clause in the settlement that will allow
       players to be compensated while they are still alive to take advantage of the
       benefits. . . . I love my family and would like for them to be compensated if that
       condition is found but as a player I would rather my family and I could enjoy the
       benefits together while I’m still alive.

Dkt. No. 6347. Mr. Flint believes that, if he dies with CTE, his family will receive payment.

Not so. Class member Eric Williams held the same incorrect belief: “Players diagnosed with

CTE (living) today, have to kill themselves or die for their family to ever benefit.” Dkt. No.


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6345.24 Other former players as well as the media have likewise displayed confusion over the

scope of the Settlement’s coverage for CTE. Objection 52-53.

       The hundreds of players who have opted out or objected to the Settlement demonstrate

why the Settlement should not be approved. See GM Trucks, 55 F.3d at 812-13 & n.32 (noting

an opt-out rate of 0.091% and an objection rate of 0.11% but ruling that “[t]he class reaction

factor plainly does not, contrary to the district court’s conclusion, weigh in favor of approving

the settlement”). Even apart from those protesting voices, the “informational barriers to class

opposition” – here, a false, misleading, and confusing notice – further counsel against drawing

any “inference[s]” about whether class members who did not opt out or object to the Settlement

actually think it is a good deal. Id. at 812. The defective notice provides an independent reason

to deny approval.

VI.    The Public Interest and Public Opinion Disfavor Final Approval

       The issues presented in this litigation have broad implications beyond the serious damage

suffered by any one individual class member and those closest to him. The central allegations

are that the NFL lied to its players and the public – indeed, elaborately so through sponsoring

junk science – to deceive them about the substantial health risk attached to playing football.

Class Action Complaint ¶ 84. After conducting extraordinary scientific, legal, and factual

research, Class Counsel alleged that the NFL defrauded players out of their health, thereby

injuring not only themselves but also their wives, girlfriends, families, and others around them.

24
   At the fairness hearing, Class Counsel suggested that Mr. Williams’s objection was irrelevant
because he submitted it on July 3, 2014, before the Court preliminarily approved the Settlement.
Fairness Hearing Tr. 198. But Class Counsel ignored the fact that their propaganda campaign in
support of the Settlement, which contained much of the same misleading information contained
in the notice, predated the notice and Mr. Williams’s objection. See DeGory, New Concussion
Settlement a Win-Win, SportsIllustrated.com (June 26, 2014), http://mmqb.si.com/2014/06/26/
new-concussion-settlement-kevin-turner; Objection 48-52; NFL Concussion Class Settlement
(May 1, 2014), https://www.youtube.com/watch?v=9EWNBNgMoEk.

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       Given the tremendous popularity of the NFL, it is not surprising that the issues of its

conduct in dealing with concussions and brain trauma have drawn scrutiny from the media. The

PBS documentary and book League of Denial did much to expose the NFL’s bad behavior. See

Nitz Supp. Decl. Exs. 18 & 19. League of Denial so struck a nerve with the NFL that it

reportedly pressured ESPN to pull ESPN’s name and logo from the documentary even though

the book was written by two ESPN reporters.25 Others have been similarly critical of defendants

and this Settlement – although it is hard to be heard above the din of the NFL’s non-stop media

machine.26

       Not surprisingly, a number of highly credible organizations have filed amici curiae

memoranda arguing against final approval. These include: Public Citizen, one of the nation’s

most prominent public advocacy organizations; the Brain Injury Association of America, the

country’s oldest and largest nationwide brain injury advocacy organization; and the Parents


25
   See Sandomir, Partly by Shunning Documentary, ESPN Lifts It, N.Y. Times (Oct. 9, 2013),
http://www.nytimes.com/2013/10/10/sports/football/by-shunning-concussion-documentary-espn-
gives-it-a-lift.html (attached as Nitz Supp. Decl. Ex. 20).
26
   See, e.g., Erichson, The NFL Concussion Settlement: Class Action Exploitation, Mass Tort
Litigation Blog (Nov. 18, 2014), http://lawprofessors.typepad.com/mass_tort_litigation/2014/11/
the-nfl-concussion-settlement-and-class-action-exploitation.html (attached as Nitz Supp. Decl.
Ex. 21); Kaplen & De Caro, Op-Ed: Concussion Settlement Is Deeply Flawed, National Law
Journal (July 21, 2014), http://www.nationallawjournal.com/id=1202663714809/OpEd-
Concussion-Settlement-Is-Deeply-Flawed (attached as Nitz Supp. Decl. Ex. 22); Daugherty,
Settlement II: Concussion Cases Become a Headache for NFL, San Diego Reader (July 9, 2014),
http://www.sandiegoreader.com/news/2014/jul/09/sporting-settlement-II (attached as Nitz Supp.
Decl. Ex. 23); Pearson & Feeley, NFL Critics Say Concussion Accord Ignores Broken Lives,
Bloomberg (Nov. 19, 2014), http://www.bloomberg.com/news/2014-11-19/nfl-settlement-
objectors-seek-to-sway-judge-from-approval.html (attached as Nitz Supp. Decl. Ex. 24); Hruby,
The NFL Concussion Settlement Is Pure Evil, Vice Sports (Oct. 28, 2014), https://sports.vice.
com/article/the-nfl-concussion-settlement-is-pure-evil (attached as Nitz Supp. Decl. Ex. 25);
Hruby, The NFL Dodges on Brain Injuries, The Atlantic (Sept. 4, 2014), http://www.theatlantic.
com/entertainment/archive/2014/09/the-nfls-concussion-settlement-not-acceptable/379557 (at-
tached as Nitz Supp. Decl. Ex. 26); Reed, Time’s Running Out To Stop Bad NFL Concussion
Settlement, League of Fans (Nov. 14, 2014), http://leagueoffans.org/2014/11/14/times-running-
out-to-stop-bad-nfl-concussion-settlement (attached as Nitz Supp. Decl. Ex. 27).

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Concussion Coalition, a group of parents of children who have had life-altering concussions.27

Notably, not a single organization has filed in support of the Settlement.

        Thus, it is fair to say that those who are interested and not a party to the litigation think

this is a bad deal that should not receive final approval.

        Through their actions, Class Counsel – with their $112.5 million clear sailing agreement

at stake – have done nothing to calm the fears of those who see the Settlement as a sell-out. For

starters, no discovery was done in this case and Class Counsel have refused to acknowledge

what, if any, informal exchange of information occurred concerning the merits of this case.

Thus, in settling the matter, the NFL will be allowed to continue to conceal what have been

described as shameful and dangerous secrets not only from the public but from the players it

defrauded.

        Once settlement negotiations began, Class Counsel took great care to keep the class in the

dark with no visibility in the negotiating process. Members of the class were vocal but there was

little they could do.28

        At every turn, Class Counsel refused to provide information about the Settlement and

how it was reached. Notwithstanding that the fundamental concerns of the Morey Objectors

were first raised on May 5, 2014, upon the filing of their motion for leave to intervene, see Dkt.

No. 6019, at 1-2, 13-21, at no time did Class Counsel seek to provide information and address
27
  Class Counsel have aggressively opposed any organization making its views known to this
Court through an amicus memorandum. See Brain Injury Association of America (Dkt. No.
5608); Response in Opposition to BIAA’s Motion for Leave To File Amicus Brief by Plaintiff
(Dkt. No. 5633); Public Citizen (Dkt. No. 6214); Response to Public Citizen’s Motion for Leave
To File Amicus Curiae Memorandum by Plaintiff (Dkt. No. 6330); Parents Concussion Coalition
(Dkt. No. 6427); Response in Opposition to PCC’s Motion to File Amicus Brief by Plaintiff
(Dkt. No. 6432).
28
  See Fainaru & Fainaru-Wada, Lawyers Fight Over Settlement Details, ESPN.com (Jan. 24,
2014), http://espn.go.com/espn/otl/story/_/id/10346091/lead-negotiator-facing-strong-opposition-
concussion-settlement.

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the concerns expressed to the Court. Further, they opposed the motion filed by counsel for Mr.

Duerson seeking dissemination of data relied on to reach the Settlement, see Dkt. No. 6146;

opposed the motion filed by counsel for Mr. Duerson seeking to depose Mr. Seeger, see Dkt. No.

6182; opposed the motion filed by the Morey Objectors seeking leave to file limited discovery

requests, see Dkt. No. 6183; and opposed the motion filed by the Morey Objectors requesting an

order that Class Counsel and the NFL produce the evidence upon which they intended to rely at

the fairness hearing and the evidence upon which they relied when they agreed to the Settlement,

see Dkt. No. 6333.

        Instead, Class Counsel – the fiduciary and guardian of the class – waited until seven days

before the fairness hearing to provide any information to attempt to justify what they had done.

Along with the NFL, they then submitted a combined 250 pages of briefing along with over

1,250 pages of exhibits, including 11 expert affidavits. The transparent intent of this eleventh-

hour “disclosure” clearly was to prevent any meaningful scrutiny of what Class Counsel had

done in striking their deal. The class deserves better. So does the public, given the broad

interest in the issues.

        If, as Class Counsel contends, this is truly a fair and adequate Settlement for the class,

then they should welcome review and celebrate their fine work. If, on the other hand, this is a

settlement that fails to compensate the core injury of living class members, has multiple conflicts

within the class, and employs a complex claims process that unquestionably will limit payments

by the NFL – as well as provide Class Counsel with a pot of gold along the way – then it is

understandable that they would fight so hard to avoid revealing what transpired.

        The shortcomings of the Settlement – particularly the failure to properly compensate CTE

– are breathtaking.       Approval of such an inadequate deal reached under these clandestine



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conditions would fly in the face of fairness as well as public policy favoring openness in court

proceedings. “Publicity is justly commended as a remedy for social and industrial diseases.

Sunlight is said to be the best of disinfectants; electric light the most efficient policeman.”

Brandeis, Other People’s Money 62 (National Home Library Foundation ed. 1933).

VII.   The Settlement Does Not Guarantee That Funds Will Be Available To Pay Claims
       During the Full Term of the Settlement

       The Settlement, though it extends for 65 years, provides no guarantee that money will

exist in the Statutory Fund to pay players who have qualifying claims. See Dkt. No. 6243, at 10-

12 (Utecht Objection). The Settlement provides that, no later than 10 years after the effective

date of the Settlement, the NFL will deposit funds in a Statutory Trust “sufficient to satisfy the

NFL Parties’ remaining anticipated payment obligations” for years 11-65. Settlement § 25.6(d).

But that guarantee is illusory. The NFL decides how much money to deposit in the fund and the

NFL may withdraw funds from the Statutory Trust. Id. While the NFL’s withdrawal of funds is

subject to court approval, the Settlement provides that such approval “shall be granted” unless

the NFL is in material default, or if it can be shown by “clear and convincing evidence, that the

proposed withdrawal would materially impair the Settlement Agreement.” Id.

       At the fairness hearing, the Settling Parties scoffed at the idea that the security provisions

of the Settlement could even matter, because the NFL would always be ultimately liable for the

claims. Fairness Hearing Tr. 203-04. It may seem unlikely that the NFL will not be able to

make the payments 65 years from now, but public tastes change and corporate fortunes fade.

One need only look to the decline in the popularity of boxing in the past 65 years as an example.

History, moreover, is replete with instances of corporate titans in one generation that become has

beens in the next. The Pennsylvania Railroad, Lehman Brothers, and Bethlehem Steel all

illustrate this point. For this reason too, the Settlement should not be approved.


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VIII. Potential Improvements to the Settlement

       Objectors have consistently maintained – and continue to maintain – that this case should

be settled. See Dkt. 6420 at 9-11; Fairness Hearing Tr. 69, 102, 105. But any settlement must

meet the requirements of Rule 23 and due process. Objectors respectfully submit that the

following list of CTE-related potential improvements could go a long way toward ensuring that

the Settlement is fair, adequate, and reasonable:

              Lift the monetary cap on the Baseline Assessment Program to allow for earlier
               diagnosis and meaningful treatment of CTE, including its serious early symptoms

              Extend the Baseline Assessment Program to the full term of the Settlement

              Provide a benefit for Death with CTE diagnosed post-mortem that is graduated
               downward over time to account for the fact that players will be receiving the
               benefit of enhanced treatment through the Baseline Assessment Program

              Provide that the issue of diagnosis of CTE in the living be revisited by counsel
               and the Court – advised by an agreed-upon panel of medical experts – every three
               years for the next 12 years, with the possibility of the Settlement being modified
               to allow for some form of compensation for CTE while alive instead of after death

              Include compensation for CTE while living once reliable tests are developed; treat
               all symptoms of CTE – Stages 1-4

              Or eliminate CTE from the release

Objectors also submit that other meaningful changes to the Settlement could be made in an effort

to make it fair, adequate, and reasonable. These include:

              Give credit for play in NFL Europe

              Reduce non-NFL traumatic brain injury/stroke offsets to a reasonable, evidence-
               based percentage

              Eliminate the opt-in requirement

              Eliminate the requirement that a “MAF physician” provide a Qualifying
               Diagnosis

              Use a recognized system for testing and diagnosis grounded in accepted medical
               science

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              Eliminate the appeal fee for a class member and limit the number of appeals the
               NFL can take per year

              Re-notice the class with clear, consistent, and accurate language

Although the lack of compensation for current and future cases of CTE is the major failure of the

Settlement, numerous other flaws independently and collectively render it unfair and require its

rejection. That said, Objectors believe that perhaps with the continued guidance of this Court, a

settlement that is fair, adequate, and reasonable can be achieved.

                                         CONCLUSION

       Final approval of the Settlement should be denied.




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Dated: December 2, 2014                                /s/ Steven F. Molo
William T. Hangley                                     Steven F. Molo
Michele D. Hangley                                     Thomas J. Wiegand
HANGLEY ARONCHICK SEGAL                                Kaitlin R. O’Donnell
PUDLIN & SCHILLER                                      MOLOLAMKEN LLP
One Logan Square                                       540 Madison Ave.
18th & Cherry Streets                                  New York, NY 10022
27th Floor                                             (212) 607-8160 (telephone)
Philadelphia, PA 19103                                 (212) 607-8161 (facsimile)
(215) 496-7001 (telephone)                             smolo@mololamken.com
(215) 568-0300 (facsimile)                             twiegand@mololamken.com
whangley@hangley.com                                   kodonnell@mololamken.com
mdh@hangley.com
                                                       Martin V. Totaro
                                                       Eric R. Nitz
                                                       MOLOLAMKEN LLP
                                                       600 New Hampshire Ave., N.W.
                                                       Washington, DC 20037
                                                       (202) 556-2000 (telephone)
                                                       (202) 556-2001 (facsimile)
                                                       mtotaro@mololamken.com
                                                       enitz@mololamken.com

                                                       Linda S. Mullenix
                                                       2305 Barton Creek Blvd., Unit 2
                                                       Austin, TX 78735
                                                       (512) 263-9330 (telephone)
                                                       lmullenix@hotmail.com


                             Attorneys for Objectors
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 2, 2014, I caused the foregoing supplemental brief to

be filed with the United States District Court for the Eastern District of Pennsylvania via the

Court’s CM/ECF system, which will provide electronic notice to all counsel and parties.

                                                                  /s/ Steven F. Molo
